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UNITED STATES DISTRICT COURT ire
DISTRICT OF NEW MEXICO vee

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CARL WILSON, an individual, and : Dy fe »
AUDREE WILSON, an individual, Aiba 9%) 97 Gaul

CLERK-ALEUQUERQUE

94 Civ. 892 (JC)

Plaintiff,
Vv.

HARPERCOLLINS PUBLISHERS, INC.,
a Delaware corporation,

Defendant.

MEMORANDUM OF LAW IN SUPPORT OF DEFENDANT’ S
MOTION TO COMPEL DISCOVERY AND FOR SANCTIONS

Defendant HarperCollins Publishers, Inc. submits this
memorandum of law in support of its motion, pursuant to Fed. R.
Civ. P. 26(b), 33, 34 and 37, to compel Plaintiffs Carl Wilson
and Audree Wilson to respond to HarperCollins’ First Sets of
Interrogatories and Requests for Production of Documents and for
sanctions for their failure to properly respond.

PRELIMINARY STATEMENT

Plaintiffs’ responses to HarperCollins first set of
discovery requests are plagued with improperly asserted
objections, evasive answers and flagrant violations of the
federal and local discovery rules. Indeed, plaintiffs have

failed to comply with even the most basic requirements of

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D.N.M.LR-Cv 26.1(b).' They also failed to follow the
instructions in the requests that separate responses be provided
for each of the allegedly defamatory statements from the book
which, for the convenience of the parties and the Court, were set
forth in full in the requests.

Because of the Rule 26.1(b) failure, HarperCollins is
forced to attach both the original interrogatories and the
responses as separate attachments to this motion to allow the
Court to relate the particular requests to the responses. While
this violation of the local rules does not directly relate to the
substantive adequacy of the responses or the merits of the
objections, it is emblematic of the plaintiffs’ cavalier attitude
toward their discovery obligations.

The numerous substantive inadequacies in plaintiffs’
responses are set forth below.

PROCEDURAL HISTORY

On June 13, 1996, HarperCollins served its First Set of
Interrogatories to Plaintiff Audree Wilson, First Set of
Interrogatories to Plaintiff Carl Wilson and First Request for
Production of Documents to both plaintiffs. See Attachments A, B
and C to HarperCollins Motion To Compel and For Sanctions

(hereinafter "Motion") submitted herewith.

 

1. Pursuant to D.N.M.LR-Cv 26.1(b), plaintiffs were required to
either set forth the response or objection in the space provided
or quote each interrogatory in full immediately preceding its
responses.

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On July 26, 1996, plaintiffs served responses and
objections to the First Set of Interrogatories to Audree Wilson
and objections (but no substantive responses) to certain
interrogatories propounded to Carl Wilson. Plaintiffs also
served responses to the First Requests for Production of
Documents but produced virtually no responsive documents. See
Attachments D, E and F to Motion.

On August 6 and 7, counsel for both sides participated
in a lengthy meet-and-confer to discuss numerous deficiencies in
plaintiffs’ production. Particular attention was given to the
nonresponsiveness of plaintiffs’ answers and the
inappropriateness of the objections, particularly the "right of
privacy" objections. Copies of the correspondence setting forth
the substance of the three hour meet-and-confer are appended to
the Motion as Attachments G and H.

As a result of the meet-and-confer, plaintiffs
indicated that they would supplement or amend a number of the
interrogatory and document responses. They also agreed to
produce additional documents. To date, plaintiffs have made no
effort to supplement Audree Wilson’s responses to the
interrogatories. The only supplemental documents that have been
produced are copies of plaintiffs’ current address books.

Pursuant to a Court Order dated August 19, 1996,
plaintiffs were ordered to serve substantive responses to

HarperCollins First Set of Interrogatories to Carl Wilson by 7:00

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p.m. EST on August 19, 1996. "Plaintiff Carl Wilson’s Amended
Responses to HarperCollins’ First Set of Special Interrogatories"
were finally received at 8:55 p.m. EST on August 19. See
Attachment I to Motion. Mr. Wilson’s responses suffer from many
(if not most) of the same deficiencies discussed during the meet-
and-confer.

It has become apparent that plaintiffs have no
intention of providing responsive answers unless they are
compelled to do so by this Court.

ARGUMENT
I. PLAINTIFFS’ RESPONSES TO THE INTERROGATORIES AND
DOCUMENT REQUESTS CONCERNING INJURY TO REPUTATION
AND DAMAGES ARE EVASIVE AND INCOMPLETE

Interrogatory Nos. 1, 6, 10, 12 and 16 to Audree Wilson
and Interrogatory Nos. 1, 6, 8, 9, 11, 13, 14 and 15 to Carl
Wilson and Request Nos. 9 and 26 relate to plaintiffs’
computation and theories of damages and reputational injury.

A. Injury to Reputation

Interrogatory No. 1 is identical for both plaintiffs.
It requests the identities of persons who have formed a
diminished opinion of plaintiffs because of the publication of
the book.

Audree Wilson responded to Interrogatory No. 1 as
follows: "Plaintiff cannot provide a complete answer because
Plaintiff does not know the names of all of the persons who read

the Book. Research of damage to reputation witnesses is not

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complete." Carl Wilson’s initial response was identical. Mr.
Wilson’s "amended" response reads as follows: "Plaintiff does
not know the names of all the persons who read the Book.
Plaintiff further responds, without waiver of the attorney work
product protection, that an outside consultant is doing research
on that subject, and the research is not complete."

With respect to documents on reputational injury, in
response to Document Request No. 26, plaintiff stated: "As
regards to general damages for harm to reputation, Plaintiffs are
not in possession, custody or control of any responsive
documents. As discovery continues, however, documents from third
party sources may be obtained."

Five years after the publication of the book and two
year after the filing of this lawsuit, it is incredible that
plaintiffs are unable to identify one single person who has
formed a diminished opinion of them as a result of the
publication of the book or one single document evidencing harm to

their reputations.?

If at this late stage, plaintiffs can
identify no specific persons or documents concerning injury to
reputation, plaintiffs should so state in a definitive and final

answer to Interrogatory No. 1 and Document Request No. 26 and

 

2. Pursuant to Fed. R. Civ. P. 26(a) (1) (C), such information
should have been readily available to plaintiffs at the time the
action was commenced or very soon thereafter -- notwithstanding
the parties’ mutual decision to bifurcate this case into phases
for purposes of conducting formal discovery.

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thereafter be precluded from relying on any such documents or
testimony of or concerning such persons at trial.

B. Proximate Cause And Damages

 

Interrogatory No. 6 to Audree Wilson,

Interrogatory Nos. 8 and 9 to Carl Wilson and Document Request
Nos. 16 and 19 request specific information and documents
concerning plaintiffs’ allegations that the challenged passages
proximately caused injury and damages to them. Plaintiffs are
asked to state the basis for their assertion that the book
proximately caused injury and damages to them. They are also
asked to identify all evidence in support of their responses and
identify all persons with knowledge concerning their allegations.

In his response to Interrogatory Nos. 8 and 9, Mr.
Wilson states: "The alleged defamatory statements carry with
them a defamatory meaning. The general damages sought naturally
flow from the defamatory statements." This appears to be an
elusive way of saying that the sole basis for Mr. Wilson’s
allegations as to proximate cause of injury and damages are the
statements themselves. If this is what the elliptical response
means, Mr. Wilson should be compelled to say so. Mr. Wilson
cites no evidence (other than perhaps the statements themselves)
and no persons with knowledge concerning his claim of "general
damages." Thus, he fails to respond to the second portion of the
interrogatory altogether. Mr. Wilson should be compelled to give

a complete and nonevasive answer to the entire interrogatory.

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In response to Interrogatory Nos. 8 and 9, Mr. Wilson
makes a similar elusive statement with respect to his claim of
emotional distress: "Plaintiff’s claim for emotional distress
damages is supported by the emotional distress he suffered."
This statement is absolutely breathtaking in its obliqueness and
circuity. It is also completely nonresponsive to the
interrogatory. Mr. Wilson should be compelled to state the basis
for his allegations that the publication of the book proximately
caused him emotional injury and damages. Mr. Wilson’s response
does identify persons with knowledge concerning his allegations
of emotional injury, but he fails to respond to the
interrogatory’s request for identification of the evidence he
believes supports those allegations. Again, he should be
compelled to provide a complete response to all three aspects of
the interrogatory.

Audree Wilson’s answer to Interrogatory No. 6
concerning proximate cause and damages is also evasive. She
states: "The statements charge me with cruelty toward my son.
In many states it is a crime for a parent to witness flagrant
child abuse and not try to intercede. That is a terrible thing
for a mother to do." In the context of the interrogatory, this
oblique statement would seem to mean that the sole basis for her
allegations that the statements in the book proximately caused
her injury and damages are the statements themselves. If so, she

should be compelled to state so in response to the interrogatory.

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Like Mr. Wilson, Ms. Wilson neglects to respond to the part of
the interrogatory asking her to identify evidence of and persons
with knowledge concerning her allegations as to proximate cause
and damages. If there is no such evidence (other than the
statements themselves) and there are no persons with such
knowledge, she should be compelled to say so.

Under Fed. R. Civ. P. 33(b), HarperCollins is entitled
to full, nonevasive responses to the interrogatories concerning
proximate causation and damages. HarperCollins is also entitled
to any and all documents on these fundamental subjects. So far,
the only documents that have been produced are "gig sheets" for
the years 1988-1995 which purportedly reflect Mr. Wilson’s
concert revenues. This is surprising given that his claim for
damages goes far beyond allegedly lost concert revenues. For
example, he also claims to have lost merchandizing revenue,
sponsorship revenue and record sales yet has produced no
documents whatsoever on these subjects.

C. Pecuniary Losses

Interrogatory No. 10 to Audree Wilson and Interrogatory
No. 11, 13, 14, 15, and 16 to Carl Wilson request specific
information concerning "pecuniary loss" as an element of damages.

Audree Wilson responds "that she is not seeking special

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damages (i.e. lost profits etc)." If this evasive response

 

3. "Special damages" is a term of art in libel jurisprudence
which is arguably more narrow than pecuniary loss.

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means that she is not claiming any pecuniary loss and as element
of damages, HarperCollins is entitled to that unequivocal and
unambiguous response to Interrogatory No. 10.

Carl Wilson’s responses to Interrogatory Nos. 11, 13,
14, 15 and 16 are more responsive than Ms. Wilson’s but still do
not provide all of the information requested. Further, because
they provide specific information concerning merchandizing
revenue, record royalties and sponsorship licenses, they also
raise serious questions as to why documents concerning these
Matters have not been produced to HarperCollins. Such documents
are expressly requested in Document Request No. 26 and, at the
very least, Mr. Wilson should be compelled to produced whatever
it was he relied on to respond to the interrogatories.

D. Financial Records

Interrogatory Nos. 12 and 16 to Audree Wilson,
Interrogatory Nos. 18 and 21 to Carl Wilson and Document Request
No. 9 request information concerning plaintiffs’ finances and the
finances of the Beach Boys.

Audree Wilson refused to respond to Interrogatories 12
and 16 claiming that the information requested is not relevant

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and violates of her "right to privacy."* Neither plaintiff

produced documents concerning their finances.

 

4. The inappropriateness of this objection is discussed in
Section II infra.

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If Ms. Wilson is not claiming that the publication of
the book caused any change in her financial status, then
HarperCollins is entitled to that response because it constitutes
circumstantial evidence that her reputation has not been damaged.
Certainly, evidence that her financial situation has been
enhanced since the publication of the book is significant
evidence that the book had no significant impact upon her
reputation. Further, information concerning her financial
affairs is relevant because it could lead to admissible evidence
concerning causes for her alleged "emotional distress" other than
the publication of the book. Thus, Ms. Wilson should be
compelled to provide responses.

Carl Wilson is clearly claiming that the book has
caused a diminution in his income and the income of the Beach
Boys. HarperCollins is entitled to show that the book had no
impact on Mr. Wilson or the Beach Boys’ finances as compared to
the preceding 10 years. Accordingly, he should be compelled to
produce all documents in his possession or control that are
responsive to Request No. 9.° Mr. Wilson’s effort to
selectively produce only "gig sheets" for the years 1988-1995 is

totally unacceptable.

 

5. The notion that Mr. Wilson is not in a position to produce
documents in the possession of his accountants and Brother
Records and Brother Tours (the corporations under which he and
the other Beach Boys conduct their business) is absurd.

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II. PLAINTIFFS’ FAILURE TO RESPOND TO DISCOVERY REQUESTS ON THE
BASTS OF ASSERTIONS OF A RIGHT OF PRIVACY ARE COMPLETELY
INAPPROPRIATE

 

Plaintiffs have no basis whatsoever to refuse to
respond to interrogatories and produce documents based on
assertions of a "right to privacy." Having placed their
reputations, the veracity of statements about their private lives
and their emotional and financial well-being directly at issue,
they cannot now attempt to hide behind a veil of "privacy" with
respect to these matters. Accordingly, they should be compelled
to provide complete and responsive answers to Interrogatory Nos.
2, 12, 15 and 16 to Audree Wilson, Interrogatory Nos. 2, 10, and
16 to Carl Wilson and produce all documents responsive to
Requests Nos. 1, 2, 3, 4, 5, 6, 7, 8, 21, 23, 24, and 26.

III. PLAINTIFFS’ RESPONSES TO MANY OF HARPERCOLLINS’ DISCOVERY
REQUESTS ARE EVASIVE

Plaintiffs’ responses to many of the interrogatories
and document requests are purposefully evasive. The evasive
responses provided in response to the interrogatories and
requests on proximate cause and damages are discussed above. In
addition to these, there are a number of instances in which
plaintiffs expressly reinterpret the interrogatories and requests
in a manner that substantially narrows or otherwise significantly
changes them in scope. This practice is not appropriate under
the Federal Rules of Civil Procedure. Plaintiffs are not
entitled to unilaterally decide what questions they wish to

answer. Rather, they must comply with the requirement of the

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rules and respond fully and completely to the requests as
written.

The evasive responses include: Carl Wilson’s "amended"
responses to Interrogatory Nos. 5 (misinterprets request for a
statement of the basis for his allegations as to falsity and
fails to identify evidence of same),° 6 (same), 7 (same), 8 (see
discussion in Section 1(a) supra, 9 (same), 13 (same), 14 (same),
15 (same), 16 (same), and 17 (answers a different question);
Audree Wilson’s responses to Interrogatory Nos. 2 (lists only
physicians as opposed to "health care providers"), 3 (lists
"witness and potential witnesses" as opposed to "persons with
knowledge"), 4 (same), 5, 6, 10 and 17; and plaintiffs responses
to Document Request Nos. 9, 10, 11, 12, 13, 15, 17, 18, and 21.
Plaintiffs should be compelled to provide complete responses to
the interrogatories and produce documents responsive to the
document requests as written -- not as misinterpreted by

plaintiffs.

 

6. This interrogatory also mischaracterizes what Ms. Daniels
explained to Ms. Dumas during their meet-and-confer. Ms. Daniels
told Ms. Dumas that the interrogatories requested three types of
information: (i) a statement of the basis for plaintiffs’
allegations; (ii) identification of all evidence in support
thereof; and (iii) identification of all persons with knowledge
concerning the allegations. Ms. Daniels even gave examples of
how one might go about stating the basis for allegations of this
nature.

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IV. PLAINTIFFS HAVE WAIVED THEIR OBJECTIONS TO A NUMBER OF THE
INTERROGATORIES

Providing responses to discovery requests
notwithstanding an objection results in waiver of the objection.
See Norma Russell v. Yamaha Motor Co., et al., No. 91-479
(JC/WWD), slip op. at 4, 10 (D.N.M. Nov. 8, 1991).

Audree Wilson has waived her objections to
Interrogatory Nos. 2, 6, 10, 11, 15 and 17 because those
objections are accompanied by responses. Carl Wilson has waived
the objections asserted in his responses to Interrogatory Nos. 2,
5, 6, 7, 11, 16, 17, 18, 19 and 23 because those objections are
accompanied by responses. Both plaintiffs have waived their
objections to Document Request Nos. 3, 4, 6, 7, 10, 11, 12, 13,
14, 15, 16, 17, 18, 19, 21, 22, 23, 24, 25, and 26 because those
objections are also accompanied by responses.

Although plaintiffs’ counsel represented during the
meet-and-confer that when plaintiffs provided a response
"notwithstanding" their objections the response was complete,
this is not apparent from the written responses. To the extent
that responsive documents and interrogatory responses have been
withheld, their immediate production should be compelled.
Otherwise, plaintiffs should be compelled to clarify their
responses so that it is clear that a complete response has been

provided.

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Vv. PLAINTIFFS’ BROAD, CONCLUSORY OBJECTIONS ARE INAPPROPRIATE

 

The assertion of broad, conclusory objections without
specifying why such objections apply to the requests is not

permissible. Russell v. Yamaha, No. 91-479 (JC/WWD), slip op.at

5.

Plaintiffs assert broad, conclusory objections --
namely "vague", "overbroad," "harassing," "confusing," "not
relevant," "improper subject of discovery" -- in response to

Interrogatory Nos. 2, 6, 10, 11, 12, 13, 15 and 17 for Audree;
Interrogatory Nos. 2, 3 and 23 for Carl; and Document Request
Nos. 1, 2, 3, 4, 5, 6, 7, 8, 9, 10, 11, 13, 15, 16, 17, 18, 19,
21, 22, 23, 24, 25, 26 and 27. In each instance, they fail to
explain the reason for the objection, as required by the Federal
Rules. Plaintiffs should be ordered either to respond to each of
the requests that it has refused to answer on the basis of a
conclusory objection(s) or, alternatively, state the reason for
the objections so the Court can determine whether there is any
merit to the objection. It is HarperCollins’ view that
plaintiffs’ objections are wholly without merit.

VI. HARPERCOLLINS IS ENTITLED TO DISCOVERY AS TO AUDREE WILSON’S
USE (OR LACK OF USE) OF ALCOHOL

Plaintiffs objects to the various interrogatories which
request information concerning Audree Wilson’s use or abuse of
alcohol or lack thereof on the grounds that "the Court ruled that
statements purporting to detail Audree Wilson’s use or abuse of

alcohol are not actionable information."

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HarperCollins believes it is entitled to discovery on
this issue -- notwithstanding the Court’s ruling that the
statements in the book concerning Audree Wilson’s use of alcohol
are not, as a matter of law, capable of defamatory meaning --
because the requested information may lead to admissible evidence
concerning Ms. Wilson's ability to accurately recall the episodes
of abuse reported in the statements that are still at issue.

Such information may also provide an explanation for her behavior
in standing by in the face of Murry Wilson’s abuse of their
children. The requested information may also lead to admissible
evidence concerning potential sources for her alleged emotional
distress other than the publication of the book. Thus,
plaintiffs’ should be compelled to respond.

VII. PLAINTIFFS’ HAVE WAIVED THEIR CLAIMS OF ATTORNEY CLIENT
PRIVILEGE BY FAILING TO PRODUCE A PRIVILEGE LOG

Plaintiffs have waived their claims of attorney-client
privilege by failing to describe the nature of the documents,
communications or things not produced in a manner that will
enable HarperCollins to assess the applicability of the privilege
as required by Fed. R. Civ. PB. 26(b) (5).

Fed. R. Civ. P. 26(b) (5) requires that:

When a party withholds information otherwise

discoverable under these rules by claiming

that it is privileged . .. the party shall

make the claim expressly and shall describe

the nature of the documents, communications

or things not produced or disclosed ina

manner that, without revealing information
itself privileged or protected, will enable

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other parties to assess the applicability of
the privilege.

In explaining this provision, the Advisory Committee warns that
"{[a] party must notify other parties if its withholding materials
otherwise subject to disclosure under the rule ... because it
is asserting a claim of privilege. . . . To withhold materials
without such notice is contrary to the rule, subjects the party
to sanctions under Rule 37(b) (2) and may be viewed as a waiver of

the privilege." See also Cunningham v. Connecticut Mut. Life

 

Ins., 845 F. Supp. 1403, 1408 (S.D. Cal. 1994) ("A failure to
properly assert a privilege, as a matter of federal procedure,
can result in a waiver of the privilege.").

In response to a number of document requests,
plaintiffs indicate that they have unspecified documents that
respond and are privileged, but they have not identified which
documents they are or provided nonprivileged information
sufficient to enable HarperCollins to determine whether the
privilege is properly asserted because, in plaintiffs’ words, "it
would be unduly burdensome for Plaintiffs to create a privilege
log." See Response to Document Request No. 27.

The law on this subject could not be clearer. The
burden of proving the attorney-client privilege rests on the
party asserting that privilege. Peat, Marwick, Mitchell & Co. v.

West, 748 F.2d 540, 542 (10th Cir. 1984), cert. dismissed, 469

 

U.S. 1199 (1985). A general claim is insufficient to establish

the privilege. See e.g. Marx v. Kelly, Hart & Hallman, P.C., 929

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F.2d 8, 12 (1st Cir. 1991) (the assertion of a privilege "must be
accompanied by sufficient information to allow the court to rule
intelligently on the privilege claim); Davis v. Fendler, 650 F.2d
1154, 1160 (9th Cir. 1981) (blanket privilege is improper). As
the court noted in Eureka Fin. Corp. v. Hartford Accident &
Indem. Co., 136 F.R.D. 179, 183 (E.D. Cal. 1991):

Although it may be time-consuming to

specifically assert the attorney-client

privilege in a document intensive litigation,

the courts nevertheless require such specific

identification. Because privileges impede

full and free discovery of the truth, the

assertion of a privilege such as attorney-

client is strictly construed. If the

privilege is worth protecting, a litigant

must be prepared to expend some time to

justify the assertion of the privilege.

(Citations omitted).

Plaintiffs made no effort to identify any of the
responsive documents purportedly protected by the attorney client
privilege (other than those listed on the "privilege" log created
during the first phase of discovery). They have failed to
indicate how many additional documents they are not producing in
this phase and have declined to provide any information about the
documents because it would be "too burdensome." This Court
should find that plaintiffs’ failure to provide sufficient

information regarding the asserted privilege amounts to a waiver

of the privilege and all responsive documents should be produced.

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VIII. HARPERCOLLINS IS ENTITLED TO RECOVER ITS REASONABLE
EXPENSES, INCLUDING ATTORNEY’S FEES CAUSED BY
PLAINTIFFS’ FAILURE ADEQUATELY TO RESPOND TO
HARPERCOLLINS’ DISCOVERY REQUESTS

 

 

It is elemental that discovery relating to damage to
reputation is the very essence of a defamation case. Equally
elemental is the notion that plaintiffs who have placed their
reputations and the veracity of statements concerning their
private lives directly at issue cannot then refuse to produce
relevant information by claiming a "right of privacy." No
reasonable party could assert this objection and provide evasive
responses to requests concerning injury to reputation, causation
and damages without expecting to be compelled to respond.

Fed. R. Civ. P. 37(a) (4) (A) provides, in pertinent
part, as follows:

If the motion [to compel] is granted or if the

disclosure or requested discovery is provided after the

motion was filed, the court shall, after affording an
opportunity to be heard, require the party .. . whose
conduct necessitated the motion or the party or
attorney advising such conduct or both of them to pay
to the moving party the reasonable expenses incurred in
making the motion, including attorney’s fees, unless
the court finds that the motion was filed without the
movant’s first making a good faith effort to obtain the
disclosure or discovery without court action, or that
the opposing party’s nondisclosure, response, or
objection was substantially justified, or that other
circumstances make an award of expenses unjust.

Under this provision, "no bad faith is required; even negligent

failures to allow reasonable discovery may establish cause for

imposing sanctions under Rule 37." Eureka Fin. Corp. v. Hartford

Accident & Indem. Co., 136 F.R.D. 179, 186 (E.D. Cal. 1991). See

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Coane v. Ferrara Pan Candy Co., 898 F.2d 1030, 1032 (5th Cir.

 

1990) (failure to provide discovery need not be willful in order
to trigger sanctions).

As shown by the Certificate of Compliance filed by
counsel in conjunction with this Motion, HarperCollins made a
good faith effort to secure the requested discovery without the
Court’s intervention but was unable to do so. In addition, the
authorities cited by HarperCollins demonstrate that there is no
credible justification for plaintiffs’ failure to respond fully
to HarperCollins’ requested discovery. Under these
circumstances, Rule 37 requires the Court to enter an order
against either plaintiffs’ or their counsel or both "to pay to
the moving party the reasonable expenses incurred in making the
motion, including attorney’s fees." See Eureka Fin. Corp., 136
F.R.D. at 186 (ordering party who "made blanket claim of
privilege which completely contravenes the well settled
requirements for a valid assertion of privilege" to pay expenses
incurred by the party filing the motion to compel).

CONCLUSION

For the foregoing reasons, HarperCollins requests that
this Court enter an Order compelling plaintiffs Carl and Audree
Wilson immediately to provide full, nonevasive responses to
HarperCollins first sets of interrogatories and documents
requests and ordering plaintiffs, or their counsel, or both, to

pay HarperCollins’ reasonable expenses, including attorney’s

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fees, caused by the failure to provide such responses in the
first instance.

Dated: August 23, 1996

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We hereby certify that a copy

of the foregoing was hand-delivered
to Ernesto Romero and forwarded

via overnight service to Beth Dumas
this <3 th day of August,

1996, at the following addresses:

Ernesto J. Romero
3602 Campus Boulevard, NE
Albuquerque, New Mexico 87106

Beth Dumas

Landberg, Cohn & Drooz

12100 Wilshire Boulevard

Suite 1650

Los Angeles, California 90025
WEIL, GOTSHAL & MANGES, LLP

Cc :
oC pthesunr Naser ©

'“Katherine J. Daniels

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TH THE UNITED STATES DISTRICT COURT

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“FoR THE DISTRICT OF NEW MEXICO

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ares 7 fH EL Gini og ta stis
NORMA ‘RUSSELL(, individually and an ae

as parent and next friend and Oe tes a

on behalf ‘of MICHAEL DEVILLE, Ce en ee

a minor,’ MARTHA _DEVILLE, a rn ee
minor,-and SSEIRRIA COBURN, .
a minor, ,

Plaintiff,

vs. Civ. No. 91-479 JC/WWD

YAMAHA MOTOR CO., LTD.,
(YAMAHA HATSUDOKI K.K.), 4 gx one

Japanese corporation, and R
YAMAHA MOTOR CORP., U.S.A., _ fh be a

a California corporation, ©

Defendants.

MEMORANDUM OPINION AND ORDER
This matter comes before the Court upon Plaintiff's First
Motion to Compel Production of Documents and Answers to

Interrogatories from Defendant Yamaha Motor Corp., U.S.A., filed

“August. 29, 1990. “Plaintiff -moves this Court to compel Yamaha

Motor Corp., U.S.A. (Yamaha-USA) to produce documents pursuant to
requests 1, 3, 4, 5, 6, 7, 8, 9, 10, 11, 12, 13, 14, 15, 16, 17,
19, 20, 22, 23, 24, 25, 26, 27, 28, 29, 30, 31, 32, 33, 37, 38,
39, 40, 41, 42, 43, 44, 45, 46, 47, 48, 49, 50, 51, 52, 53, 54,
56, and 57 of Plaintiff's First Request for Production of
Documents to Yamaha Motor Corp., U.S.A., and to fully answer
interrogatories 2, 3, 4, 5, 14, 16, 17, 18, 21(b), 21(c), 21(f),
and 21(g) of Plaintiff's First Set of Written Interrogatories to

Yamaha Motor Corp., U.S.A. Plaintiff also asks for an award of
 

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on

attorney's fees and costs incurred in making and pursuing this

motion to compel discovery.

I. BACKGROUND oe we

Plaintiff Michael DeVille, a minor, was driving a Yamaha
three-wheeled all terrain vehicle (ATV) with plaintiff Seirria
Coburn, a minor, as a passenger. The ATV flipped over severing
- Seirria's left arm and hand above the wrist. Michael took
Seirria to the family home where plaintiff Martha DeVille, a
minor, saw Seirria's condition.

Plaintiff is suing.defendants .for product. liability,

- negligence, breach of -warranty, intentional and negligent
infliction of emotional distress, and for punitive damages.
Plaintiff bases her case on defendants' ATV design,
manufacturing, testing, marketing, advertising, sales, warning,
and distribution as well as on defendants‘ failure to recall its
ATV's. Yamaha USA raises as affirmative defenses contributory or
* comparative fault,’ abuse or misuse of the product, failure to
“notify of defects, absence of privity, and if applicable statute
of limitations or alteration of product or improper maintenance.

Yamaha Motor Co., Ltd. has not filed an answer since it has a

pending motion to dismiss.

II. DISCUSSTON

A. YAMAHA-USA'S GENERAL OBJECTIONS TO REQUESTS FOR
PRODUCTION

Plaintiff contests Yamaha-USA's: General Objections One and

Four to plaintiff's first request for production of documents.
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General Objection One reads in pertinent part:

“17. The definition of ‘ATV' is objected to
in that it includes four-wheeled all terrain
vehicles and cycles and thereby results in,an
overly broad request and undue burden.
Information pertaining to such vehicles is
not relevant to the issues in this litigation
and to the extent that it may be claimed to
be marginally relevant, the burden of
responding thereto outweighs any relevance.
Information called for by such an overly
broad request is not reasonably calculated to

lead to the discovery of admissible
evidence.“

Plaintiff's Exhibit 2 at 2 (attached to plaintiff's First Motion
to Compel). . Discovery regarding similar models.is.permitted in
“products liability cases unless pertinent differences are

demonstrated. Culligan v. Yamaha Motor Corp., U.8.A., 110 F.R.D.
122, 126 (S.D.N.Y. 1986). Yamaha-USA does not explain why the
term "ATV" is unacceptable except to say that a three-wheeled ATV -

was involved in this particular accident. Plaintiff, on the

other hand, produced a deposition by a Yamaha employee who states

and four-wheeled vehicle are basically same. Exhibit E (attached
to Reply Brief of Plaintiff in Support of Motion to Compel (filed
Oct. 4, 1991)). Since a four-wheeled ATV is similar ina .
pertinent way to a three-wheeled ATV, the term "ATV" should
include four-wheeled ATV's. Plaintiff's argument that “ATV"
should include motorcycles, however, is meritless.
General Objection Four reads in pertinent part:

"4. To the extent that any request inquires

about tall‘, [sic] ‘eacht or ‘every', [sic]

the request is objected to as being overly

broad and unduly burdensome. It is

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~that-the handling and riding characteristics of: a three-wheeled -
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impossible to represent, even after a
reasonably diligent search, that ‘all', {sic]
teach' or tevery' document or thing falling
within a description can be or has been
located. Documents may be kept in myriads of
locations and files. Many people have “
handled the documents and they have been
moved frequently and may have been arranged,
rearranged or reordered. Documents may, have
been lost or may have been part of materials
disposed of in accord with the record
retention policy. Therefore, this defendant
cannot warrant or represent that it has
produced tall', [sic] ‘each‘ or every {sic]
document or thing of a type requested, only
that it has produced those which could be
located after a reasonably diligent search.
Any further requirement is objected to as
unduly burdensome.“

Exhibit 2 at 3 (attached:to plaintiff's First Motion to Compel).
An objection accompanied by a willingness to respond results in
the waiver of the objection. See Meese v. Eaton Mfg. Co., 35
F.R.D. 162, 166 (N.D. Ohio 1964). In essence, Yamaha-USA objects .
to the use of the words “all,“ “each," and "every" in the

requests for production while conceding that it will respond to

..those requests pursuant to a.reasonably. diligent search. Thus, -

Yamaha-USA's objections in the face of a willingness to respond
results in the waiver of the objections.

Moreover, Yamaha-USA is obligated to respond to discovery to
the “fullest practicable extent" by making reasonable inquiries
prior to filing discovery responses. United States v. Proctor &
Gamble Co., 356 U.S. 677, 682 (1958) (citing Hickman v. Taylor,
329 U.S. 495, 501 (1947))7 National Ass‘n of Radiation Survivors
v. Turnage, 115 F.R.D. 543, 556 (N.D. Cal. 1987). Thus, a

reasonably diligent search for documents by Yamaha-USA is
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required. General Objection Four, therefore, reiterates Yamaha-
USA's duty to conduct reasonably diligent searches for documents.
B. THE REQUESTS FOR PRODUCTION AND INTERROGATORIES
1. REQUEST 1

Request 1 asks for all documents regarding the testing,
development, and/or evaluation of all Yamaha three-wheeled ATV's.
Yamaha-USA objects to this request as being vague, ambiguous, .
indefinite, overly broad, and irrelevant. Yamaha-USA then states
that plaintiff's counsel has already received the requested
documents in previous litigation.

‘Unsupported or clarified general objections such as Yamaha-
USA's vagueness, ambiguous, indefinite, overly broad, and
irrelevant objections are impermissible. See White v. Beloginis,
53 F.R.D. 480, 481 (S.D.N.Y. 1971). Moreover, the requesting
party is entitled to review documents in the opposing party's
control even if the requesting party has those documents ifa
_subseguent review would_be helpful -to.the xequesting party. .:..6ee:
Federal Deposit Ins. Corp. v. Renda, 126 F.R.D. 70, 72 (D. Kan.
1989). Requesting documents discovered in prior litigation to
determine which documents were retained by the opposing party is
a legitimate reason for ordering discovery in the subsequent
suit. See Weiner v. Bache Halsey Stuart, Inc., 76 F.R.D. 624,
626 (S.D. Fla. 1977).

In this case, plaintiff states that she has received
Gay documents from Yamaha-USA for the last seven years in a piecemeal

manner. According to plaintiff, a complete set of documents at
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this time would aid in determining if the documents plaintiff's
counsel have are incomplete or not. Plaintiff's rationale for
wanting documents received in previous litigation is,similar to
that propounded in Weiner. Thus, plaintiff should be allowed to
discover the documents requested in request 1. .

2. REQUEST 3.

Request 3 asks for all documents regarding the testing -
of ATV's manufactured by Honda, Yamaha, or Suzuki. Yamaha-USA
responded by stating that it has none in its possession other
than that already given.to plaintiff's counsel _in previous

- litigation... Fed. R. Civ. 34(a) allows production of tangible
things “which are in the possession, custody or control of the
party upon whom the request is served.“ Yamaha-USA does not
state that it lacks control or custody of the requested <
documents. Therefore, Yamaha-USA‘s response that it does not
possess the requested documents is evasive. Moreover, for the

- reasons discussed. supra, plaintiff. is entitied tothe :requested
documents although Yamaha-USA claims they were produced to
plaintiff's counsel in prior litigation. Yamaha-USA must respond

to request 3.

3. REQUESTS 4, 14, 27, 45, 50, 56, AND 57, and
INTERROGATORIES 17, 18, AND 21(g)

Yamaha-USA responded to requests 4, 14, 27, 45, 50, 56,
and 57 and interrogatories 17 and 18 with unsupported or

clarified broad conclusory objections. Those kind of objections

 

are impermissible in discovery. The Court notes also that
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Yamaha-USA further responded to request 45 by mentioning a
possible re-examination of the request. Such a response is
nonresponsive. Yamaha-USA must fully respond to. requests 4, 14,
27, 45, 50, 56, and 57, and interrogatories 17, 18, and 21(9).

4. REQUESTS 5, 6, AND 8. .

Yamaha-USA responded to requests 5, 6, and 8 by saying
that it had already provided plaintiff's counsel with the
documents in prior litigation. For the same reasons discussed

pursuant to request 1, supra, plaintiff is entitled to the

_.. requested materials.although they were allegedly produced in

“prior litigation. Thns,; Yamaha-USA must ‘respond to requests 5,
6, and 8.

5. REQUESTS 7, 10, 12, AND 43.

Yamaha-USA responded to requests 7, 10, 12, and+-43 by
stating that it was not in possession of the requested documents.

As noted, supra, stating that one is not in "possession" of

-_yequested documents is. insufficient under Fed. R. Civ. P. 34(a)

‘to constitute a valid objection. Consequently, Yamaha-USA must

respond to requests 7, 10, 12, and 43.

6. REQUESTS 9, 13, 20, 23, 26, 46, 47, 48, 51, 52,
53, AND 54.

Yamaha-USA responded to requests 9, 13, 20, 23, 26, 46,
47, 48, 51, 52, 53, and 54 by making unsupported or clarified
objections and asserting that the documents had been previously
provided to plaintiff's counsel in prior litigation. The above

objections to requests 9, 13, 20, 23, 26, 46, 47, 48, 51, 52, 53,
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and 54 are without merit as discussed supra. Yamaha-USA must
respond to requests 9, 13, 20, 23, 26, 46, 47, 48, 51, S2, 53,

and 54. a. ve

7. REQUEST 11

Request 11 asks for all documents regarding Yamaha
employee or contract employee injuries on Yamaha ATV's. Yamaha-
USA responded by saying it was not in possession of the requested
documents and that plaintiff's counsel had deposition transcripts
from another case. Yamaha-USA's lack of possession objection is
without. merit. See supra.: . However, plaintiff's argument that
documents produced in previous litigation are needed in this case
because there is doubt whether all of the requested documents had
been produced before does not apply to the deposition
transcripts. The deposition transcripts are a knowable quantity.—
Yamaha-USA should, therefore, produce all of the requested

documents in its control and custody except for the deposition

-_‘~transcripts.

8. REQUEST 15

Request 15 asks for all documents concerning the
accident ATV. Yamaha-USA responded by saying it would provide
plaintiff a copy of the Warranty Registration, Dealer Invoice,
and Import Documents, if available, once the accident ATV was
sufficiently identified. Yamaha-USA has since provided plaintiff
a copy of the Warranty Registration. Yamaha-USA does not
indicate why it did not also provide the Dealer Invoice and

Import Documents. Thus, Yamaha-USA is compelled to produce the
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Dealer Invoice and Import Documents.

9. REQUEST 16

Request 16 asks for all documents, videotapes or other
items regarding research studies or information relating to the
effectiveness or non-effectiveness of product warnings. Yamaha-
USA objected to the request by asserting that it was unduly
burdensome, overly broad, and irrelevant, because the request was.
not limited to the subject ATV or to three-wheeled ATV's. A
request for discovery is burdensome when the burden to produce

outweighs the benefit of discovery of the documents. . See. Rich v.

- Martin Marietta Corp., 522 F.20.333,. 343 (10th Cir. 1975).

Yamaha-USA has not shown why the balance between burden and
benefit should tip in favor of burden. Moreover, Yamaha-USA does
not explain how the request is “overly broad.“ Yamaha-USA‘s
objections based on undue burden and over broadness are without

merit.

“Rjelevancy.is interpreted more broadly. during discovery

- than: at trial." Centurion*Industries, Inc. v. Warren Steurer &

Assoc., 665 F.2d 323, 326 (10th Cir. 1981). Under Fed. R. Civ.
P. 26, information is “relevant" if it is reasonably calculated
to lead to the discovery of admissible evidence. United States
v. Security and Trust Co., 661 F.2d 847, 851 n. 6 (10th Cir.
1981). The effectiveness or noneffectiveness of product warnings
in general may be applicable to the issue of ATV safety, an issue
of primary importance in this case. Thus, discovery of

information on the effectiveness or noneffectiveness of product
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warnings is reasonably calculated to lead to the discovery of
admissible evidence. Request 16 is, therefore, relevant. For
the above reasons, Yamaha-USA must respond to request 16.
10. REQUESTS 17, 19, AND 22
In response to requests 17, 19, and 22, Yamaha-USA
states that it is not aware of any such documentation, does not
believe that it exists, or has no document fitting the .
description. Those are adequate responses. Thus, Yamaha-USA
need not respond to requests 17, 19, and 22.
_11. REQUEST 24
Request 24 asks for copies of all hang tags provided
with Yamaha ATV's. Yamaha-USA objects on several grounds to this
request, but then states that without waiver of the objections,
it will provide copies of hang tags for the ATV model at issue.
A party opposing discovery cannot reserve the right to object and

respond to a request for production at the same time. See Dollar

w.. Long Mfg., N.C., Inc.,. 561 F.2d.613, 617 (Sth Cir. .1977)7-W-

R. Grace & Co.’ v. Pullman, Inc., 446 F.Supp. 771, 775 (W.D. Okla.
1976). In that situation, the response serves to waive the
objections. Id.

Because Yamaha-USA has agreed to produce some of the
documents requested, Yamaha-USA's objections are waived. Yamaha-
USA's production is incomplete, however. The scope of discovery .-
includes all of Yamaha's three- and four- wheeled ATV's. See

supra discussion of General Objection One. The production must,

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therefore, include hang tags for all of Yamaha's three- and four-

wheeled ATV's.

12. REQUEST 25. a oe

Yamaha-USA raises some general objections to request 25
but then indicates that it will produce materials mailed to past
purchasers in January and October 1988. Yamaha-USA has waived
its objections by agreeing to produce some docunents. Yamaha-USA
also mentions a booklet entitled “Tips for the ATV Rider/Off—-Road
Practice Guides,“ the owner's manual, and the owner's warranty

guide in its response, but does not .state that it will. produce

- those documents.” Yamaha-USA will also produce those additional

‘documents.

13. REQUEST 28
Yamaha-USA objects to request 28 because it asks for
documentation on four-wheeled ATV's. As previously discussed,

four-wheeled ATV's are proper subjects of discovery in this case.

_ Accordingly, .Yamaha-USA must respond“to request 28.

14. REQUEST 29, INTERROGATORIES 4 AND 5.

Yamaha-USA responded to request 29 and interrogatories
4 and 5 by noting that it either had no current awareness of a
document or current knowledge of information sought. Those are
acceptable responses. Yamaha-USA need not respond further to
request 29 and interrogatories 4 and 5.

15. REQUESTS 30, 31, 32, 38, 40, 41, 42, AND 44

Requests 30, 31, 32, 38, 40, 41, 42, and 44 ask for

documents in the possession of or created by certain persons.

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Yamaha-USA responds by stating those persons are not its
employees and thus, Yahama-USA cannot produce the requested
documents. Whether those persons are employees of Yamaha or not
is not the issue. The issue is whether Yamaha-USA has
possession, custody or control of the requested documents. In
fact, if a responding party can obtain documents possessed by
third persons upon request, those documents are considered to be -
under that party's control. see Holland Am. Merchants Corp. Vv.
Rogers, 23 F.R.D. 267, 269 (S.D.N.¥. 1959). Yamaha has not shown
that the requested documents were not in its possession, custody
or contrel,therefore, Yamaha-USA must “respond to ‘request 30, 31,
32, 38, 40, 41, 42, and 44. .
16. REQUEST 33
Request 33 asks for JIS standards referred to in
connection with the design of the YIM 125. Yamaha-USA responded
by asserting that it is not involved in the design of the subject
__ATV and has no such information within its possession, custody or...
control. ‘ This’ response is adequate. Yamaha-USA need not respond
to request 33.

17. REQUEST 37.

Request 37 asks for documents or items related to
attempts at YMC to computer model ATV's. Yamaha-USA makes some
general objections, then states without waiver of the objections |
that Yamaha-USA provided to plaintiff's counsel in prior

Ch litigation the only copy of computer modeling of any ATV. The

general objections are waived by the fact that Yamaha-USA also

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responds to the request. Since Yamaha-USA's response refers to
only one specific item, the one copy of computer modeling,

plaintiff's reason for wanting production of documents or items

from previous suits, i.e., the risk of missing items or documents

from prior production, is invalid. Yamaha-USA need not respond
further to request 37.

18. REQUEST 39

Request 39 asks for documents regarding certain

specifications of the YTM. Yamaha-USA stated that it did not

have that.information in its possession, custody or control

uniess it is contained in-test reports given to plaintiff's
counsel in prior litigation. This response is sufficient,
because plaintiff will receive the test reports as a result of

this motion to compel. Yamaha-USA need not respond to request

39.
19. REQUEST 49
_. Request .49.asks for.a.copy of .Yamaha-USA's articles of.
incorporation: Yamaha-USA objects to that request because the

requested information is of public record. Documents of public
record equally accessible to both parties are not subject to
discovery. Dushkin Pub. Group, Inc. Vv. Kinko's Service Corp.,
136 F.R.D. 334, 335 (D.D.C. 1991) (quoting 8.E.C. v. Samuel H.
Sloan & Co., 369 F.Supp. 994, 995 (S.D.N.¥. 1973) (citation to

authorities omitted)). Plaintiff failed to demonstrate that the

articles of incorporation are not equally accessible to them as

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they are to Yamaha-USA. Thus, Yamaha-USA need not respond

further to request 49.

20. INTERROGATORY 2 -

Yamaha-USA answered interrogatory 2 with a couple of
unsupported or clarified general objections and the statement
that it cannot give an “accurate" answer. The general objections
are impermissible. Moreover, Yasiaha-USA: should give an answer to
the best of its ability even if “inaccurate" as long as plaintiff

knows that it is inaccurate. Yamaha-USA‘'s answer to

interrogatory 2 is nonresponsive, thus it should answer

 cimterrogatory 2 fully.

21. INTERROGATORY 3

Interrogatory 3 asks for a list of items withheld from
production because of attorney-client privilege and/or work
product doctrine. Yamaha-USA objects to this interrogatory on
the unsupported or clarified general grounds of irrelevancy and
undue burden, and as a violation of attorney-client .privilege .and
work: product doctrine... The irrelevancy and undue burden

objections are impermissible.

The burden of showing attorney-client privilege lies with

the party asserting it. See, e.g., In re A.H. Robins Co., Inc.,
107 F.R.D. 2, 8 (D. Kan. 1985). In this case, Yamaha-USA claims
that a list of privileged documents would amount to an attorney-_
Client privilege violation, because inferences regarding strategy
could be drawn from the list. Yamaha-USA fails to supply enough

detail to demonstrate how the inferences would constitute

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privileged information. Consequently, Yamaha-USA has not carried
its burden of showing a violation of the attorney-client
privilege.

In order for an attorney's materials to be protected by the
work product doctrine under Fed. R. Civ. P. 26(b) (3), the party
opposing discovery must show that the materials at issue were
prepared in anticipation of litigation or for trial. Id.
Yamaha-USA has not demonstrated exactly which of the listed
documents were made in anticipation of litigation. Yamaha-USA,
thus, has not_shown that. the work product doctrine applies. For
the -above reasons, Yamaha-USA must answer interrogatory 3.

22. INTERROGATORY 14.

Yamaha-USA answered interrogatory 14 by propounding
unsupported or clarified objections based on vagueness, «~
jindefiniteness, and irrelevancy. Yamaha-USA then maintains that
the interrogatory is unduly burdensome, because the information
sought is not_in the. format. requested. The vagueness,
indefiniteness, and irrelevancy objections are impermissible.
Moreover, Yamaiia-USA does not explain how the need for the
requested information outweighs the burden of gathering it.
Furthermore, an interrogatory requiring a compilation,
investigation, or research to produce an answer is appropriate
where the responding party has control over the information
sought or would gather it for his or her own preparation of the
case. See Flour Mills of America, Inc. v. Pace, 75 F.R.D. 676,

680 (E.D. Okla. 1977); King v. Georgia Power Co., 50 F.R.D. 134,

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138 (N.D. Ga. 1970). Yamaha-USA does not argue that it has no
control over the information requested or that it would not
gather it for its own preparation of the case. _ Accordingly,
Yamaha-USA must answer interrogatory 14. |

23. INTERROGATORY 16

Yamaha-USA objects to interrogatory 16 on the bases of
vagueness, over broadness, and irrelevancy. Yamaha-USA then
answers the interrogatory with respect to only three-wheeled
ATV's without waiver of the objections. The form of Yamaha-USA‘s
answer results in a waiver of the vagueness, over broadness, . and
rrelevancy objections. Yamaha-USA‘s limitation of its answer to
three-wheeled ATV's is inappropriate in light of the fact that
four-wheeled ATV's are relevant to this case. Yamaha-USA must
answer the interrogatory's request for information on four-
wheeled ATV's.

24. INTERROGATORY 21(b)

- Yamaha-USA‘s answer is conditional.on not being.
burdensome, states several unsupported or clarified objections,
and is limited to three-wheeled ATV's. Conditional answers and
unsupported or clarified objections are impermissible. The scope
of discovery includes four-wheeled ATV's as discussed, supra.
Thus, Yamaha-USA is required to answer fully interrogatory 21(b).

25. INTERROGATORIES 21(c) and 21(f)

Interrogatories 21(c) and (f) ask for information
regarding Yamaha ATV sales in New Mexico. Yamaha-USA notes in

its Memorandum in Opposition to Plaintiff's Motion to Compel

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Directed to Yamaha Motor Corp., U.S.A. at 17 that the ATV in
question was actually sold in Texas. The Court finds it
difficult to see how New Mexico sales would be relevant to an ATV
purchased in Texas. Yamaha-USA need not answer interrogatories
21(c) and (f).

III. SANCTIONS

In a number of instances, Yamaha-USA gave evasive or
conclusory responses or made meritless objections to the
discovery being sought. While I am limiting sanctions to.an
award of reasonable attorney fees in connection with the. instant
motion to-compel, I wish to caution counsel for the parties with
respect to using oppressive or delaying tactics in the discovery
process. Such practice on either side will not be tolerated. I
find that reasonable attorney fees in the amount of $500.90
should be assessed against defendant Yamaha-USA.

WHEREFORE,

JT IS ORDERED that Yamaha~USA respond to requests for
production 1, 3, 4, 5, 6, 7, 8,.9, 10, 11, 12, 13, 14, 15, 16,
20, 23, 24, 25, 26, 27, 28, 30, 31, 32, 38, 40, 41, 42, 43, 44,
45, 46, 47, 48, 50, 51, 52, 53, 54, 56, and 57 of Plaintiff's
First Request for Production to Yamaha-USA, and interrogatories
2, 3, 14, 16, 17, 18, 21(b), and 21(g) of Plaintiff's First Set
of Written Interrogatories to Yamaha-USA by December 9, 1991.

IT IS FURTHER ORDERED that on or before November 22, 1991,

Yamaha-USA pay to plaintiff's counsel the sum of $500.00 for

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attorney fees in connection with Plaintiff's First Motion to

Jebber Adee

William W. Deaton
UNITED STATES MAGISTRATE JUDGE

Compel .

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